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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA,
                                                                       MEMORANDUM & ORDER

         v.                                                            03-CR-929 (NGG)

 VINCENT BASCIANO and
 PATRICK DEFILIPPO,

                            Defendants.
 ---------------------------------------------------------X
 GARAUFIS, United States District Judge.

         April 24, 2006, the United States (“Government”) filed a letter motion to preclude the

 defendant Patrick DeFilippo (“DeFilippo”) from commenting during his closing summation

 about his ability to call or cross-examine the other defendant, Vincent Basciano (“Basciano”),

 during the trial. DeFilippo’s counsel has argued to the court a number of times the importance he

 sees to this argument. (See, e.g., Trial Transcript at 5310, 9354.) He also offered his response to

 the Government’s letter in court on April 24, 2006. (See Trial Transcript of Apr. 24, 2006.)

 Familiarity with the facts of this case and all prior rulings is presumed.

 Analysis

         The Government points to several Second Circuit cases to support its argument that while

 Basciano’s Fifth Amendment right against self-incrimination must be protected, DeFilippo is not

 severely prejudiced by being prevented from making this particular argument in summation.

              There is no reason to think that a co-defendant would be any more willing to
              waive his constitutional privilege against self-incrimination when called as a
              witness at a separate trial than he would be willing not to insist upon his
              privilege as a defendant not to take the stand. And had counsel for [defendant]
              been permitted to comment on [co-defendant’s] refusal to take the stand, [co-
              defendant’s0 rights under the fifth amendment would have been violated.


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 United States v. Caci, 401 F.2d 664, 671-72 (2d Cir. 1968) (judgment subsequently vacated for

 other reasons) (quotations and citations omitted.) The Government also cites to the Second

 Circuit standard for severance, under United States v. Wilson, 11 F.3d 346, 354 (2d Cir. 1993)

 (requiring four prongs, including a showing that the co-defendant would testify at a severed trial,

 to grant severance).

        The Government’s case citations are factually distinct from the case at bar, as DeFilippo

 is seeking to explain the lack of testimony, as opposed to seeking severance to admit the

 testimony. Nonetheless, the same analysis applies. If a defendant does not have sufficient

 rationale for severance, he certainly cannot breach his co-defendant’s constitutional rights in a

 joint trial. Furthermore, a defendant’s constitutional right to present a defense is not unlimited.

 United States v. Blum, 62 F.3d 63, 67 (2d Cir. 1995) (a defendant’s right to present a defense

 “must be balanced against a court’s leave to set reasonable limits on the admission of evidence”).

 To allow DeFilippo to make this particular argument in his summation could cause Basciano to

 suffer a violation of his Fifth Amendment right against self-incrimination. I find that Basciano’s

 constitutional right prevails over DeFilippo’s interest in making this particular argument in his

 closing.




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 Conclusion

          For the aforementioned reasons, the Government’s motion is GRANTED, to wit,

 defendant DeFilippo is precluded from commenting during his closing summation upon his

 ability or inability to call or cross-examine his co-defendant Basciano, or Basciano’s failure to

 testify in this trial.

 SO ORDERED.


                                                        ___/s/__________________
 Dated: April 25, 2006                                  Nicholas G. Garaufis
 Brooklyn, N.Y.                                         United States District Judge




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